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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


____________________________________
                                    :
UNITED STATES OF AMERICA            :                 CRIMINAL NO. 3:17-CR-147-MPS
                                    :
                                    :
                  v.                :
                                    :
                                    :
NATALIE LEVINE                      :
____________________________________:

                      DEFENDANT’S MOTION FOR CONTINUANCE

                Defendant, Natalie Levine, by and through her undersigned counsel, hereby

moves this Court to continue the sentencing of Ms. Levine, which is presently set for October 5,

2017. In support of this Motion, Defendant states:

                1.      This is the Defendant’s first Motion for Continuance.


                2.      The reason for this request is that Ms. Levine is currently cooperating with

an ongoing government investigation. The continuance of Ms. Levine’s sentencing will allow

for her continued cooperation and ensure that the government has sufficient time to evaluate the

information she has provided, which will be relevant in determining an appropriate sentence.


                3.      It is the request of the Government and the Defendant that Ms. Levine’s

sentencing be postponed for six months.


                4.      The undersigned further represents that the continuance being sought is by

agreement with the U.S. Attorney, Douglas Morabito, and the U.S. Probation Officer assigned to

this case, Paul Collette.



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                           MOVANT,
                           NATALIE LEVINE


                     By:   /s/ Thomas M. Gallagher_________________

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                           Attorneys for Defendant Natalie Levine




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                                 CERTIFICATE OF SERVICE

               I hereby certify that on August 2, 2017, a copy of the foregoing Motion was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system, or

by mail to those listed below who are unable to accept electronic filing, as indicated on the

Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.



                                                Respectfully submitted,

                                                /s/ Allison E. DeLaurentis ________

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